                           Case 5:17-cv-07305-EJD Document 224 Filed 12/20/19 Page 1 of 2



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                       APPLE INC.
             10

             11                                    UNITED STATES DISTRICT COURT

             12                                   NORTHERN DISTRICT OF CALIFORNIA

             13        RAJA KANNAN,                                 Case No. 5:17-cv-07305-EJD (VKD)
             14                      Plaintiff,                     DEFENDANT APPLE INC.’S
                                                                    STATEMENT OF NON-OPPOSITION
             15               v.                                    TO PLAINTIFF’S COUNSEL’S
                                                                    MOTION TO WITHDRAW AS
             16        APPLE INC.,                                  COUNSEL [DKT. 220]
             17                      Defendant.                     Complaint Filed:   December 26, 2017
                                                                    FAC Filed:         May 10, 2018
             18                                                     SAC Filed:         October 19, 2018
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                                                                                       Case No 5:17-cv-07305-EJD
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                            Case 5:17-cv-07305-EJD Document 224 Filed 12/20/19 Page 2 of 2



               1              TO THE COURT, PLAINTIFF RAJA KANNAN AND HIS COUNSEL OF RECORD:

               2              Defendant Apple Inc. does not oppose Plaintiff’s Counsel’s Motion to Withdraw as Counsel

               3       [Dkt. 220], and respectfully requests the Court grant the motion given the rapidly approaching case

               4       scheduling deadlines.

               5        Dated: December 20, 2019                           BAKER & MCKENZIE LLP
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               7                                                           By: /s/ Todd K. Boyer
                                                                              Todd K. Boyer
               8                                                              Caroline Pham
                                                                              Attorneys for Defendant
               9                                                              APPLE INC.
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